        Case 6:21-cv-00292-ADA Document 57 Filed 02/11/22 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 LED WAFER SOLUTIONS LLC                              §
                                                      §
         Plaintiff,                                   §
                                                      §
 v.                                                   §
                                                      §       Case No. 6:21-cv-292-ADA
 SAMSUNG ELECTRONICS CO., LTD.,                       §
 and SAMSUNG ELECTRONICS                              §
 AMERICA, INC.,                                       §
                                                      §
         Defendants,                                  §       JURY TRIAL DEMANDED
                                                      §
 and                                                  §
                                                      §
 SEOUL SEMICONDUCTOR CO., LTD.,                       §
                                                      §
         Intervenor-Defendant                         §

                        THIRD AMENDED SCHEDULING ORDER

                                Event                                         Deadline

Defendants file Reply claim construction brief.                          February 2, 2022

Plaintiff files Sur-Reply claim construction brief.                      February 16, 2022

Parties submit Joint Claim Construction Statement. In addition to        February 21, 2022
filing, the parties shall jointly submit, via USB drive, Dropbox (not
another cloud storage), or email to the law clerk, pdf versions of all
as-filed briefing and exhibits. Absent agreement of the parties, the
Plaintiff shall be responsible for the timely submission of this and
other Joint filings.

Fact Discovery opens; deadline to serve Initial Disclosures per Rule     March 4, 2022
26(a).

Deadline to add parties.                                                 March 29, 2022

Parties submit optional technical tutorials to the Court and technical   April 5, 2022
advisor (if appointed).

Markman Hearing at 9:00 a.m.                                             April 15, 2022

Deadline to serve Final Infringement and Invalidity Contentions.         June 10, 2022
After this date, leave of Court is required for any amendment to
Infringement or Invalidity contentions. This deadline does not
        Case 6:21-cv-00292-ADA Document 57 Filed 02/11/22 Page 2 of 3




relieve the Parties of their obligation to seasonably amend if new
information is identified after initial contentions.

Deadline to amend pleadings. A motion is not required unless the           July 12, 2022
amendment adds patents or patent claims.

Deadline for the first of two meet and confers to discuss                  August 9, 2022
significantly narrowing the number of claims asserted and prior art
references at issue. Unless the parties agree to the narrowing, they
are ordered to contact the Court’s Law Clerk to arrange a
teleconference with the Court to resolve the disputed issues.

Close of Fact Discovery.                                                   September 6, 2022

Opening Expert Reports.                                                    September 16, 2022

Rebuttal Expert Reports.                                                   October 18, 2022

Close of Expert Discovery.                                                 November 8, 2022

Deadline for the second of two meet and confers to discuss              November 15, 2022
narrowing the number of claims asserted and prior art references at
issue to triable limits. To the extent it helps the parties determine
these limits, the parties are encouraged to contact the Court’s Law
Clerk for an estimate of the amount of trial time anticipated per side.
The parties shall file a Joint Report within 5 business days regarding
the results of the meet and confer.
Dispositive motion deadline and Daubert motion deadline.                November 22, 2022

Serve Pretrial Disclosures (jury instructions, exhibits lists, witness     December 6, 2022
lists, discovery and deposition designations).

Serve objections to pretrial disclosures/rebuttal disclosures.             December 15, 2022

Serve objections to rebuttal disclosures and File Motions in limine.       December 22, 2022

File Joint Pretrial Order and Pretrial Submissions (jury instructions,     January 12, 2023
exhibits lists, witness lists, discovery and deposition designations);
file oppositions to motions in limine.

File Notice of Request for Daily Transcript or Real Time Reporting.        January 12, 2023
If a daily transcript or real time reporting of court proceedings is
requested for trial, the party or parties making said request shall file
a notice with the Court and e-mail the Court Reporter, Kristie Davis
at kmdaviscsr@yahoo.com
         Case 6:21-cv-00292-ADA Document 57 Filed 02/11/22 Page 3 of 3




 Deadline to meet and confer regarding remaining objections and
 disputes on motions in limine.

 File joint notice identifying remaining objections to pretrial   January 24, 2023
 disclosures and disputes on motions in limine.

 Final Pretrial Conference.                                       January 27, 2023

 Jury Selection/Trial.                                            February 16, 2023




Signed this 11th day of February, 2022.
